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                                                                                   2020 Aug-21 PM 04:04
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 PEOPLE FIRST OF ALABAMA, ET )
                 AL.,        )
                             )
     Plaintiffs,             )
                             )                     Civil Action Number
 v.                          )                     2:20-cv-00619-AKK
                             )
 JOHN MERRILL, ET AL.,       )
                             )
     Defendants.             )

                                CONSENT ORDER

      Plaintiffs People First of Alabama, Robert Clopton, Eric Peebles, Howard

Porter, Jr., Annie Carolyn Thompson, Greater Birmingham Ministries, the Alabama

State Conference of the NAACP, Black Voters Matter Capacity Building Institute,

Teresa Bettis, Sheryl Threadgill-Matthews, and Gregory Bentley (collectively,

“Plaintiffs”) filed this action against Defendants Secretary of State John Merrill, the

State of Alabama, JoJo Schwarzauer, Jacqueline Anderson-Smith, Karen Dunn

Burks, James Majors, Gina Jobe Ishman, Debra Kizer, Ruby Jones Thomas, Johnnie

Mae King, Carolyn Davis-Posey, Sherri Friday, James Naftel II, Bill English, Don

Davis, Lashandra Myrick, Frank Barger, J.C. Love III, and Britney Jones-Alexander,

in their official capacities (collectively, “Defendants”).

      In the Amended Complaint, doc. 75, Plaintiffs allege that Defendants have

enforced election laws and policies that violate the U.S. Constitution, the Voting


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Rights Act of 1965 (“VRA”), and the Americans with Disabilities Act of 1990

(“ADA”) and that Defendants have failed to protect the right to vote of Alabamians

amid the COVID-19 pandemic.

         Specifically, in the Amended Complaint, Plaintiffs seek to enjoin (1) the strict

limitations on the categories of registered voters who may request and cast an

absentee ballot, Ala. Code § 17-11-3;1 (2) the requirement that the affidavit that must

be included with an absentee ballot be signed by a voter in the presence of either a

notary or two adult witnesses, id. §§ 17-11-7 to 17-11-10; (3) the requirement that

copies of photo identification accompany absentee ballot applications, id. § 17-9-

30(b), and certain absentee ballots, id. §§ 17-11-9 and 17-11-10(c); and (4) the

State’s de facto ban on curbside voting (collectively, the “Challenged Provisions”).

         This Consent Order is entered into by and between Plaintiffs and Defendants

Gina Jobe Ishman and J.C. Love, III, in their official capacities as the Circuit Clerk,

Absentee Election Manager, and Probate Judge of Montgomery County, Alabama

(collectively, “Montgomery County Defendants”) only. Plaintiffs and the

Montgomery County Defendants are collectively referred to herein as the “Parties.”

         The Parties, through counsel, have discussed the allegations and exchanged

relevant information, and agree that this action should be settled without further

protracted and costly litigation. The Parties share the goal that all voting procedures


1
    The court dismissed Plaintiffs’ challenge to the excuse requirement as moot. Doc. 161 at 4–6.

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shall comply with the U.S. Constitution, the VRA, the ADA, and other civil rights

laws. The parties have agreed to the entry of this Consent Order as an appropriate

resolution of this action. The parties hereby stipulate to the following:

                                       FACTS

      1.     This Court has subject matter jurisdiction over Plaintiffs’ claims under

28 U.S.C. §§ 1331 and 1361. The Court has personal jurisdiction over the

Montgomery County Defendants, who are sued in their official capacities as

government officials for actions undertaken in such capacities.

      2.     J.C. Love III is the Probate Judge of Montgomery County, Alabama,

and the chief election official in Montgomery County. As such, he is directly

responsible for the conduct of federal, state, and county elections in Montgomery

County, and is charged under Alabama law with among other duties, training poll

workers and validating and canvassing election returns and ballots.

      3.     Gina Jobe Ishman is the Circuit Clerk and Absentee Election Manager

for Montgomery County, Alabama. She conducts or oversees the absentee ballot

process for elections in Montgomery County, and is charged under Alabama law

with enforcing those Challenged Provisions that relate to absentee voting, processing

and distributing absentee ballot applications, and issuing, validating, and canvassing

absentee ballots.




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          4.   The United States is in the midst of a public health emergency due to

the exponential spread of COVID-19, the respiratory disease caused by the novel

coronavirus SARS-CoV-2. This public health emergency has deeply affected

Alabama and is likely to continue to do so throughout the summer and fall of 2020,

if not longer. COVID-19 has a particularly devastating effect on Black individuals

and communities with higher rates of serious illness and death than other groups.

          5.   As a result of COVID-19, the Centers for Disease Control and

Prevention (“CDC”) recommend that election officials encourage as many voters as

possible to use “voting methods that minimize direct contact and reduce crowd size

at polling locations.”2 The CDC has urged election officials to offer “alternatives to

in-person voting,” to take any “feasible options for reducing the number of voters

who congregate indoors in polling locations at the same time,” and to offer “drive-

up voting for eligible voters,” including offering “curbside voting for sick voters” or

to any voters with COVID-19 like symptoms in order to “minimize exposure

between poll workers and voters.”3

          6.   The Plaintiffs filed their Amended Complaint, doc. 75, in this action

against, inter alia, the Montgomery County Defendants, on July 5, 2020, seeking



2
  Ctrs. for Disease Control & Prevention, Considerations for Election Polling Locations and
Voters: Interim guidance to prevent spread of coronavirus disease 2019 (COVID-19),
https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html.
3
    Id.


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injunctive and declaratory relief against the Challenged Provisions. Plaintiffs allege

that, as applied in the COVID-19 crisis or on their face, the Challenged Provisions

violate the First, Fourteenth, and Twenty-Fourth Amendments to the United States

Constitution4; Title II of the ADA, 42 U.S.C. § 12131; and Sections 2 and 201 of the

VRA, 52 U.S.C. §§ 10301, 10302, 10501. See Amend. Compl., Doc. 75 at 66-77.

         7.     The Montgomery County Defendants do not admit that they have

violated the U.S. Constitution, the ADA, or the VRA, but they recognize the

importance of the concerns asserted by Plaintiffs and the Montgomery County

Defendants acknowledge that the claims of Plaintiffs have a reasonable factual basis.

                                AGREED REMEDIAL TERMS

         8.     The Parties have agreed that this lawsuit should be resolved through the

terms of this Consent Order. The Montgomery County Defendants are committed to

fully complying with the mandates of the U.S. Constitution, the ADA, and the VRA

in all elections. Therefore, the Parties stipulate that each provision of this Consent

Order is appropriate and necessary. The Parties waive a hearing and entry of findings

of fact and conclusions of law on all issues involved in this Consent Order.

         The Court is satisfied that the Parties’ proposed order is in the public interest,

and is a fair and reasonable resolution of Plaintiffs’ claims.

         Accordingly, it is hereby ORDERED that:


4
    The court dismissed the claims under the Twenty-Fourth Amendment. Doc. 161 at 21–23.

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      9.     The Montgomery County Defendants, in their official capacities, agree

to abide by any injunctions or orders of the Court affecting or relating to the

enforcement of the Challenged Provisions or any other aspect of their authority,

duties, or policies related to the administration of any elections in Montgomery

County.

      10.    If the Court orders declaratory and/or injunctive relief against the State

of Alabama, Alabama Secretary of State, the probate judges, circuit clerks, and/or

absentee election managers in this action, the Montgomery County Defendants agree

to comply with the Court’s orders and to act in good faith to cooperate with Plaintiffs

and the Court in carrying out all duties, actions, and activities under that injunction

that fall within the scope of the authority of the Montgomery County Defendants.

Such reasonable and good faith efforts shall include, but are not limited to,

instructing all local, county or other election officials or staff to accept any absentee

ballot applications submitted or absentee ballots cast in compliance with any orders

of this Court and acting to notify the public about any changes to election laws or

voting procedures brought about by this Order or any other order entered by this

Court. Except to the extent that this Court may enter any orders or injunctions that

act to declare illegal or otherwise enjoin state laws, policies, or practices, nothing in

this Consent Order should be construed to expand the scope of the authority of the

Montgomery County Defendants. Nor should this Consent Order be construed to



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require the Montgomery County Defendants to expend additional funding beyond

that which the State or the Montgomery County Commission has already allocated

to the Montgomery County Defendants for elections and election administration.

      11.    If this Court enters any injunction, declaration, or order against the

Secretary of State, the State of Alabama, probate judges, circuit clerks, and/or

absentee election managers in this action that affect the procedures, policies, or

processes for counting, accepting, or rejecting absentee ballot applications and/or

absentee ballots and—if for any reason such injunction or order is subsequently

stayed—the Montgomery County Defendants agree to apply the standards

established by this Court’s injunction or order to any absentee ballot application or

absentee ballot received or postmarked between the date of this Court’s injunction

and the effective date of any stay order. Additionally, in the event this Court enters

any injunction, declaration or order against the Secretary of State, the State of

Alabama, probate judges, circuit clerks, and/or absentee election managers in this

action, and that order is subsequently overturned by a higher court in a final

judgment, the parties agree that the Montgomery County Defendants would no

longer be bound by the terms of the Consent Order, but would instead be bound by

the terms of any such final judgment.

      12.    The Montgomery County Defendants agree to make a good faith effort

to implement any court ordered changes to Alabama laws or policies as requested in



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the Amended Complaint and contemplated by this Order before the November 3,

2020 election. The Montgomery County Defendants waive their right to appeal or

to seek a stay of any injunction entered by this Court enjoining the enforcement of

any aspect of the Challenged Provisions.

       13.     The Montgomery County Defendants admit that Clay Helms, the

Deputy Chief of Staff and Director of Elections for the Alabama Secretary of State,

testified that a polling place with curbside voting would be feasible and permissible

under Alabama law if the curbside voting site: 1) used e-poll books; 2) placed a

tabulation booth at the site; and 3) assigned poll workers to work there. Doc. 34-1 ¶

46.

       14.     Accordingly, if this Court enters an injunction, declaration, or any other

relief permitting curbside voting, the Montgomery County Defendants5 agree to: (1)

upon Plaintiffs’ request, confer with Plaintiffs to identify the potential polling

locations for curbside voting in any future elections, including the November 3, 2020

election; (2) exercise good faith and undertake reasonable efforts to provide curbside

voting in a manner that complies with state and federal law and the CDC guidelines

for voting in the COVID-19 pandemic in any future elections, including the


5
  Consistent with the court’s decision on the motions to dismiss, the court does not have jurisdiction
to order the circuit clerks to comply with any relief lifting the ban on curbside voting. Doc. 161
at 12. Accordingly, this aspect of the consent decree applies only to J.C. Love III, the probate
judge for Montgomery County, and does not apply to Gina Jobe Ishman, the circuit clerk for
Montgomery County.



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November 3, 2020 election; and, (3) regardless of the pandemic, seek to ensure that

polling locations are accessible to people with disabilities in a manner consistent

with the ADA6 and, if appropriate, to exercise good faith and undertake reasonable

efforts to offer curbside voting in a manner that complies with state and federal law

at those polling locations that are otherwise inaccessible to voters with ambulatory

or other disabilities in any future elections, including the November 3, 2020 election.

       15.    As between the Parties, each will bear its own costs, expenses, and fees

associated with this action, including attorneys’ fees and expert costs. The

Montgomery County Defendants will not be compelled to pay for the costs,

expenses, or fees of any other party to this action. However, this provision does not

prevent the Plaintiffs from seeking costs, expenses, or fees as permitted by law

against any other party.

       16.    This Order is binding on the Montgomery County Defendants, and—to

the extent they perform any function relating to election activities—the Montgomery

County Defendants’ officers, clerks, attorneys, insurers, employees, representatives,

or agents or anyone acting or authorized to act on their behalf. This Order is also




6
 To assess and ensure that polling locations are ADA compliant, the Montgomery County
Defendants agree to refer to the “Settlement Agreement between the United States of America
and Jefferson County, Alabama Regarding the Accessibility of Polling Places,” available at
https://www.justice.gov/usao-ndal/press-release/file/905967/download.

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binding on any successor in office to the positions of Circuit Clerk, Probate Judge,

or Absentee Election Manager in Montgomery County.

       17.    The Montgomery County Defendants shall retain all records

concerning or relevant to the subject matter of this action, this Order, or their efforts

to comply with this Order or any other injunctions or orders entered by the Court in

this litigation. Upon request, the Montgomery County Defendants shall produce

information and copies of any such materials to Plaintiffs within a reasonable period

of time.

       18.    This Court shall retain jurisdiction over this action to ensure the Parties’

compliance with this Order and to grant such supplemental, further, or corrective

relief as the Parties may request or as the Court deems necessary or appropriate to

ensure compliance with this Order, the U.S. Constitution, Voting Rights Act, and/or

the Americans with Disabilities Act. The Parties shall endeavor to act in good faith

to resolve any disagreements arising under this Order before applying to this Court.

       19.    Provided that the Montgomery County Defendants satisfactorily and

timely comply with their duties under this Order and any of this Court’s other

injunctions or orders, the Montgomery County Defendants, individually, together

and/or jointly with Plaintiffs, may move this Court to dissolve this Order on or after

December 31, 2021. Before moving to dissolve this Order, the Montgomery County

Defendants shall give Plaintiffs at least thirty (30) days prior notice and, at Plaintiffs’



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discretion, Plaintiffs may join or oppose any dissolution motion filed by the

Montgomery County Defendants.

      This Court, having considered the foregoing stipulation of the parties, has

considered the terms of this Order and hereby incorporates and enters the terms and

relief set forth herein.



      DONE the 21st day of August, 2020.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE




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